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                        IN THE UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF INDIANA
                                 HAMMOND DIVISION

 K.B., by Guardian Suzanne Blade
 Thompson; SUZANNE BLADE
 THOMPSON; and JAMES BLADE,                       Case No.: 2:17-CV-474 TLS-JEM
        Plaintiffs

         -v-

 SAMUEL FIES; SCHOOL TOWN OF
 HIGHLAND; and RONALD FRAZIER,
      Defendants



     RESPONSE AND WAIVER TO FINDINGS, REPORT AND
         RECOMMENDATION OF UNITED STATES
           MAGISTRATE JUDGE PURSUANT TO
               28 U.S.C. § 636(b)(1)(B) & (C)


        Comes now Defendant Samuel Fies, by counsel, J. Michael Katz of GOODMAN KATZ

KOONCE & MAROC, and for his Response and Waiver to the Findings, Report, and

Recommendation of the United Sates Magistrate Judge Pursuant to 28 U.S.C. §636(b)(1)(B) & (C)

states the following:

        1.     Defendant Samuel Fies has no objection to such Findings, Report and

Recommendation with regard to Defendant Fies’ Motion for Sanctions [Doc. No. 70] filed March

3rd, 2019.

        2.     Since the issuance of such Recommendation [Doc. No. 87] of the Magistrate Judge

on June 17th, 2019, counsel for Plaintiff and counsel for Defendant Fies have been in regular

communication with regard to the discovery matters at issue in this cause.
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       3.      That said counsel are in agreement that the deposition of the Plaintiff, K.B., shall

precede that of Defendant Fies, with the dates for each to be scheduled within the time parameters

set by the Court at the time of the June 27th status conference for which an order regarding those

proceedings remains pending.

       4.      Pursuant to the agreement between counsel for the Plaintiff and counsel for

Defendant Fies, Defendant Fies waives any claim for the imposition of sanctions against Plaintiff.

       ALL OF WHICH is submitted to the Court this 1st day of July 2019.

                                      GOODMAN KATZ KOONCE & MAROC

                                      By:    /s/ J. Michael Katz
                                             J. MICHAEL KATZ
                                      Indiana Attorney Number: 5084-45
                                      Attorney for Defendant,
                                       Samuel Fies
                                      9013 Indianapolis Boulevard
                                      Highland, Indiana 46322
                                      (219) 838-9200 (ofc.)
                                      (219) 972-7110 (fax)

                                VERIFICATION

       GOODMAN KATZ KOONCE & MAROC, by J. MICHAEL KATZ, affirms under the

penalties for perjury that said law firm is the attorney for the Defendant Samuel Fies and that the

above and foregoing representations are true and correct.


                                             GOODMAN KATZ KOONCE & MAROC


                                             By:     /s/ J. Michael Katz
                                                     J. MICHAEL KATZ



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                        IN THE UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF INDIANA
                                 HAMMOND DIVISION

K.B., by Guardian Suzanne Blade Thompson;               Case No.: 2:17-CV-474 JVB-APR
SUZANNE BLADE THOMPSON; and JAMES
BLADE,
       Plaintiffs

       -v-

SAMUEL FIES; SCHOOL TOWN OF
HIGHLAND; and RONALD FRAZIER,
     Defendants


                          CERTIFICATE OF SERVICE

       The undersigned does hereby certify that on July 1st, 2019, he has electronically filed the

above and foregoing Response and Waiver to the Findings, Report, and Recommendation of the

United Sates Magistrate Judge Pursuant to 28 U.S.C. §636(b)(1)(B) & (C) with the Clerk of the

United States District Court for the Northern District of Indiana using the CM/ECF system.

                                            GOODMAN KATZ KOONCE & MAROC


                                            By:    /s/ J. Michael Katz
                                                   J. MICHAEL KATZ
                                            Indiana Attorney Number: 5084-45
                                            Attorney for Defendant,
                                             SAMUEL FIES
                                            9013 Indianapolis Boulevard
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